      Case 2:09-cr-00421-TLN Document 138 Filed 11/02/12 Page 1 of 2


 1   DOUGLAS I. HORNGRAD
     Attorney at Law
 2   California State Bar No. 95086
     1736 Stockton Street
 3   Maybeck Building Four
     San Francisco, California 94133
 4   Telephone: (415) 397-9509
     Facsimile: (415) 397-9519
 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No. 2:09-cr-00421 GEB
12                  Plaintiff,                      STIPULATION AND [PROPOSED]
                                                    ORDER RESCHEDULING
13          v.                                      APPEARANCE AND EXCLUDING
                                                    TIME UNDER SPEEDY TRIAL ACT
14   VI TRUONG,
15              Defendant.
     ______________________________/
16
17          IT IS RESPECTFULLY REQUESTED, by defendant Vi Truong and plaintiff United
18   States of America, through their respective counsel, that the Court vacate the currently
19   scheduled November 2, 2012 Trial Confirmation Hearing and December 4, 2012 Jury Trial
20   dates and reset the matter for Change of Plea on November 16, 2012. The grounds for this
21   request are that the parties are very close to reaching an agreement and need a brief period
22   of time to finalize the details.
23          THE PARTIES STIPULATE that time should be excluded from November 2, 2012,
24   through November 16, 2012, when the Court computes the time within which the trial of the
25   above criminal prosecution must commence for purposes of the Speedy Trial Act. The
26   parties stipulate that the ends of justice served by granting defendant’s request for a
27   continuance outweigh the best interest of the public and the defendant in a speedy trial, and
28   that this is an appropriate exclusion of time within the meaning of 18 U.S.C. section
      Case 2:09-cr-00421-TLN Document 138 Filed 11/02/12 Page 2 of 2


 1   3161(h)(7)(A) and (B) (Local Code T4).
 2
           IT IS SO STIPULATED
 3
 4   Dated: November 1, 2012                  /s/ Douglas Horngrad
                                              DOUGLAS HORNGRAD
 5                                            Attorney for Defendant
                                              VI TRUONG
 6
 7
     Dated: November 1, 2012                  /s/ with consent
 8                                            JASON HITT
                                              Assistant United States Attorney
 9
10
                                              ORDER
11
           IT IS SO ORDERED.          The Court further orders that time is excluded from
12
     November 2, 2012, through November 16, 2012, pursuant to 18 U.S.C. section 3161(h)(7)(A)
13
     and (B) (Local Code T4).
14
15   Dated: November 1, 2012

16
17                                        GARLAND E. BURRELL, JR.
18                                        Senior United States District
                                          Judge
19
20
21
22
23
24
25
26
27
28


                                               -2-
